     Case 1:17-cv-02459-GLR Document 107 Filed 02/06/18 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

BROCK STONE, et al.                  *

                 Plaintiffs          *

           vs.                       *   CIVIL ACTION NO. MJG-17-2459

DONALD J. TRUMP, et al.             *

                 Defendants          *

*      *         *         *        *        *        *        *      *

                     ORDER RE: RULE 26(a) COMPLIANCE

     The Court has before it Plaintiffs’ Motion to Compel

Initial Disclosures [ECF No. 105] and the materials submitted

relating thereto.     The Court, having conferred with counsel,

finds that a formal hearing is unnecessary.

     Plaintiffs seek to have the Defendants comply with their

initial disclosure obligations under Rule 26(a) of the Federal

Rules of Civil Procedure.      Defendants’ counsel contend that they

cannot now comply because they will not be defending the policy

now at issue but will be defending the policy to be disclosed on

February 21, 2018.     Defense counsel have commenced discovery

compliance, have promised to make a Rule 26(a) compliant filing

on February 16, 2018, and agree to necessary adjustment to

existing scheduling to avoid prejudice to Plaintiffs.
Case 1:17-cv-02459-GLR Document 107 Filed 02/06/18 Page 2 of 2



Under the circumstances:

     1.   Plaintiffs’ Motion To Compel Initial Disclosures
          [ECF No. 105] is GRANTED.

     2.   Defendants shall file a Rule 26(a) compliant
          statement by February 16, 2018.

     3.   Defendants shall file an updated Rule 26(a)
          compliant statement shortly after February 21,
          2018.

     4.   Plaintiffs shall arrange a case planning
          conference to be held shortly after February 21,
          to discuss the scheduling of further proceedings
          herein.


SO ORDERED, this Tuesday, February 06, 2018.



                                              /s/__________
                                        Marvin J. Garbis
                                   United States District Judge




                               2
